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                            UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO



 THOMAS EUGENE CREECH,
                                                Case No. 1:20-cv-00114-AKB
                     Plaintiff,

        v.
                                                ORDER
 JOSH       TEWALT;         Director, Idaho
 Department of Correction, in his official
 capacity; CHAD PAGE, Chief, Division of
 Prisons, Idaho Department of Correction, in
 his official capacity; TIM RICHARDSON,
 Warden of the Idaho Maximum Security
 Institution; BRAD LITTLE, Idaho State
 Governor, in his official capacity; and
 UNKNOWN EMPLOYEES, AGENTS,
 OR CONTRACTORS OF THE IDAHO
 DEPARTMENT OF CORRECTION, in
 their official capacities,

                    Defendants.


       IT IS ORDERED:

       1.     Defendants’ Motion for Leave to File Overlength Brief (Dkt. 131) is GRANTED.

       2.     Plaintiff’s Motion for Excess Pages on Reply in Support of Motion for

              Administrative Stay (Dkt. 137) is GRANTED.

       3.     Plaintiff’s Motion for Excess Pages on Reply in Support of Motion for Preliminary

              Injunction (Dkt. 139) is GRANTED.




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      4.    In the future, the parties must comply with the Court rules, including Local Rule

            7.1 regarding motion practice, and are advised the Court will not grant motions for

            overlength briefing seeking expansions of the page limits.



                                                 DATED: February 20, 2024


                                                 _________________________
                                                 Amanda K. Brailsford
                                                 U.S. District Court Judge




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